                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                         No. CR 10-2014 and CR 11-2010
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 LUIS MIGUEL MELCHOR,                  RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEAS
                     ____________________


                       I. INTRODUCTION AND BACKGROUND
        On April 2, 2010, a two-count Indictment was returned against the defendant Luis
Miguel Melchor. On August 18, 2010, a two-count Superseding Indictment was filed in
the District of Nebraska's case number 8:10-cr-00158-LES-FG3-2, now N.D. Iowa case
no. 6:11-cr-02010-LRR. On February 17, 2011, the defendant appeared before United
States Magistrate Judge Jon S. Scoles and entered pleas of guilty to Count 1 of the
Indictment and Count 1 of the Superseding Indictment. On February 17, 2011, Judge
Scoles filed a Report and Recommendation in which he recommended that defendant’s
guilty pleas be accepted. No objections to Judge Scoles' Report and Recommendation
were filed. The court, therefore, undertakes the necessary review of Judge Scoles'
recommendation to accept defendant’s pleas in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or

       Case 6:10-cr-02014-LRR-JSS       Document 73      Filed 03/07/11    Page 1 of 2
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of February 17,
2011, and accepts defendant’s pleas of guilty in this case to Count 1 of the Indictment and
Count 1 of the Superseding Indictment.
       IT IS SO ORDERED.
       DATED this 7th day of March, 2011.




    Case 6:10-cr-02014-LRR-JSS         Document 73      Filed 03/07/11     Page 2 of 2
